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                                                             4   Entered on Docket
                                                            ___________________________________________________________________
                                                                November 19, 2021
                                                             5

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                                                                 Attorneys for party in interest Tecumseh – Infinity
                                                            15   Medical Receivables Fund, L.P.
                                                            16                                  UNITED STATES BANKRUPTCY COURT
                                                                                                       DISTRICT OF NEVADA
                                                            17
                                                                 In re:
                                                            18                                                          Case No.:   21-14486-abl
                                                                 INFINITY CAPITAL MANAGEMENT, INC.                      Chapter     7
                                                            19   dba INFINITY HEALTH CONNECTIONS,
                                                            20                       Debtor.                            ORDER GRANTING CHAPTER 7
                                                                                                                        TRUSTEE AND TECUMSEH –
                                                            21                                                          INFINITY MEDICAL
                                                                                                                        RECEIVABLES FUND, LP’s
                                                            22                                                          JOINT MOTION TO REJECT
                                                                                                                        SUB-ADVISORY AGREEMENT
                                                            23
                                                                                                                        Hearing Date: November 17, 2021
                                                            24                                                          Hearing Time: 9:30 a.m.
                                                            25

                                                            26
                                                                              This matter came before the Court on November 17, 2021 at a hearing upon the Joint Motion
                                                            27
                                                                 of Chapter 7 Trustee and Party In interest Tecumseh – Infinity Medical Receivables Fund, LP to
                                                            28
                                                                                                                    1
                                                                 60254603;1
                                                                        Case 21-14486-abl            Doc 134       Entered 11/19/21 09:08:32              Page 2 of 3




                                                             1   Reject Sub-Advisory Agreement with Tecumseh-Infinity Medical Receivables Fund, LP [ECF No. 61]

                                                             2   (the “Motion”). Appearances were as noted in the record. All findings of fact and conclusions of law

                                                             3   orally stated by the Court at the hearing are incorporated herein pursuant to Fed. R. Civ. P. 52, as

                                                             4   made applicable to these proceedings via Fed. R. Bankr. P. 6006, 7052 and 9014(c). For the reasons

                                                             5   provided by the Court on the record at the hearing,

                                                             6                IT IS HEREBY ORDERED:

                                                             7                1.     The Motion is GRANTED.

                                                             8                2.     The Sub-Advisory Agreement1 is hereby rejected pursuant to 11 U.S.C. 365.
                                                             9                IT IS SO ORDERED.

                                                            10                                                           # # # # #
                                                            11   PREPARED AND SUBMITTED:
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                                                            14   /s/ Michael Napoli, Esq
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                                                            19   Attorneys for Tecumseh – Infinity Medical
                                                                 Receivables Fund, L.P.
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                                                                     All capitalized terms take on the meaning ascribed to them in the Motion, unless otherwise defined herein.
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                                                                 60254603;1
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                                                                 CERTIFICATION re: RULE 9021
                                                             1

                                                             2
                                                                 In accordance with LR 9021, counsel submitting this document certifies that the order accurately
                                                             3   reflects the court’s ruling and that (check one):

                                                             4         The court has waived the requirements set forth in LR 9021(b)(1).
                                                             5         No other party appeared at the hearing or filed an objection to the motion.
                                                             6
                                                                      I have delivered a copy of this proposed order to all counsel who appeared at the hearing, and any
                                                             7   unrepresented parties who appeared at the hearing, and each has approved or disapproved the order,
                                                                 or failed to respond, as indicated below:
                                                             8
                                                                 Robert Atkinson, Esq. (Trustee) – APPROVED
                                                             9   Matthew Zirzow, Esq. (counsel for Debtor) – APPROVED
                                                            10   Bart Larsen, Esq. (counsel for HASelect) – APPROVED

                                                            11      I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order with the
              1635 VILLAGE CENTER CIRCLE, SUITE 200

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                                                                 motion pursuant to LR 9014(g), and that no party has objected to the form or content of the order.
                                                            12
                     LAS VEGAS< NEVADA 89134




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AKERMAN LLP




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